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  8                          UNITED STATES DISTRICT COURT
  9                        CENTRAL DISTRICT OF CALIFORNIA
 10                                      WESTERN
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 12   LUCAS R., by his next friend            Case No. 2:18-CV-05741 DMG PLA
      MADELYN R.; DANIELA MARISOL
 13   T., by her next friend KATHERINE L.;    CLASS ACTION
      MIGUEL ANGEL S., by his next
 14   friend GERARDO S.; GABRIELA N.,         [PROPOSED] ORDER GRANTING
      by her next friend ISAAC N.; JAIME      LEAVE TO FILE UNDER SEAL
 15   D., by his next friend REYNA D.; SAN    ATTACHMENT A TO
      FERNANDO VALLEY REFUGEE                 APPLICATION TO USE
 16   CHILDREN CENTER, INC.;                  PSEUDONYMS
      UNACCOMPANIED CENTRAL
 17   AMERICAN REFUGEE
      EMPOWERMENT,                            Complaint Filed: June 29, 2018
 18                                           Trial Date: None Set
                     Plaintiffs,              Judge: Hon. Dolly M. Gee
 19
            v.
 20
      ALEX AZAR, Secretary of U.S.
 21   Department of Health and Human
      Services; E. SCOTT LLOYD, Director,
 22   Office of Refugee Resettlement of the
      U.S. Department of Health & Human
 23   Services,
 24                  Defendants.
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                                                      [PROPOSED] ORDER GRANTING LEAVE TO FILE
                                                                                   UNDER SEAL
                                                              CASE NO. 2:18-CV-05741 DMG PLA
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  1         Plaintiffs seek to file under seal Attachment A to their Application to Use
  2   Pseudonyms, which contains an updated list of proposed pseudonyms and the
  3   corresponding true names of the named Plaintiffs, their Next Friends, and the sibling of
  4   named Plaintiff Benjamin F.
  5         Having considered the papers submitted by Plaintiffs and having reviewed the
  6   material that they seek to seal, the Court HOLDS that Plaintiffs’ request is narrowly
  7   tailored to seal only that material for which compelling reasons have been established
  8   and GRANTS their request.
  9   Accordingly, it is hereby ORDERED:
 10         1.     Plaintiffs are granted leave to file under seal Attachment A to the
 11   Application to Use Pseudonyms.
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 13   IT IS SO ORDERED.
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 15   DATED: _______________
 16                                           UNITED STATES DISTRICT JUDGE
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                                                          [PROPOSED] ORDER GRANTING LEAVE TO FILE
                                               1.                                      UNDER SEAL
                                                                  CASE NO. 2:18-CV-05741 DMG PLA
